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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA                     :
                                                 :
         v.                                      :          CASE NO. 1:21-CR-216 (JDB)
                                                 :
    LEO BRENT BOZELL IV,                         :
                                                 :
         Defendant.                              :


              GOVERNMENT’S SENTENCING MEMORANDUM SUPPLEMENT

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this supplemental sentencing memorandum in

connection with the above-captioned matter. As noted in the Court’s May 8, 2024 Minute Order,

the Court requested that the government submit a list of January 6 cases:

     1. In which the government sought to apply the terrorism enhancement itself, U.S.S.G.
        § 3A1.4 (as opposed to a departure pursuant to Application Note 4), and when it was in
        fact applied; and

     2. In which the government sought to apply U.S.S.G. § 2B1.5 to a destruction of government
        property count (in violation of 18 U.S.C. § 1361), and when it was in fact applied.

     In response to the first question, the government has sought to apply the adjustment under

U.S.S.G. § 3A1.4(a) and (b) for at least six January 6 defendants:

          Defendant                 Docket Number           Applied by the Court?
          Joseph Randall Biggs      21-cr-175 (TJK)         Yes. Sentencing Tr. at 32-33
                                                            (Aug. 31, 2023).
          Shane Jenkins             21-cr-245 (APM)         No. 1 Sentencing Tr. at 15-16
                                                            (Oct. 6, 2023).
          Ethan Nordean             21-cr-175 (TJK)         Yes. Sentencing Tr. at 38-41
                                                            (Sept. 1, 2023).
          Zachary Rehl              21-cr-175 (TJK)         Yes. Sentencing Tr. at 24-25
                                                            (Aug. 31, 2023).

1
 The government has noticed its intent to appeal the district court’s denial of the adjustment
under U.S.S.G. § 3A1.4. See United States v. Jenkins, No. 23-3223, Doc. 2042014 (D.C. Cir.
Feb. 23, 2024).
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          Dominic Pezzola          21-cr-175 (TJK)         Yes. Sentencing Tr. at 41-42
                                                           (Sept. 1, 2023).
          Henry “Enrique” Tarrio 21-cr-175 (TJK)           Yes. Sentencing Tr. at 35-37
                                                           (Sept. 5, 2023).

         In response to the second question, the government has sought to apply the U.S.S.G.

§ 2B1.5 guideline in at least three felony January 6 cases 2 with 18 U.S.C. § 1361 convictions:

           Defendant               Docket Number             Applied by the Court?
           Shane Jenkins           21-cr-245 (APM)           Not addressed by the
                                                             Court. Sentencing Tr. at 23
                                                             (Oct. 6, 2023).
           Dominic Pezzola         21-cr-175 (TJK)           Yes. Sentencing Tr. at 37
                                                             (Sept. 1, 2023).
           Nicholas Rodean         21-cr-57 (TNM)            Yes. Sentencing Tr. at 10
                                                             (Oct. 26, 2022).



                                                            Respectfully submitted,

    DATED: May 14, 2024                                     MATTHEW M. GRAVES
                                                            United States Attorney
                                                            D.C. Bar No. 481052


                                                     By:    /s/ Ashley Akers
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2
  The government has not tracked guidelines calculations for violations of 18 U.S.C. § 1361 in
cases with only misdemeanor convictions, and the government less frequently purchases
transcripts for the high-volume of January 6 misdemeanor cases.
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